Case: 1:21-cr-00551 Document #: 1 Filed: 09/02/21 Page 1 of 12 PagelD #:1
9/2/2021
BRUT T
ced US DETR! F@SuR
AUSA Aaron R. Bond (312) 469-6047

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
UNITED STATES OF AMERICA 21 CR 551 |
Case No:
v. MARIA VALDEZ
Magistrate Judge

MARCOS GLEFFE
AFFIDAVIT IN REMOVAL PROCEEDING

I, CHRISTINA FREISLEBEN, appearing by reliable electronic means
telephonically before United States Magistrate Judge MARIA VALDEZ and being
duly sworn on oath, state that as a federal law enforcement officer I have been
informed that MARCOS GLEFFE has been charged by Complaint in the District of
Columbia with the following criminal offenses: knowingly entering or remaining in
any restricted building or grounds without lawful authority, in violation of Title 18,
United States Code, Section 1752(a)(1); disorderly and disruptive conduct in a
restricted building or grounds, in violation of Title 18, United States Code, Section
1752(a)(2); and disorderly conduct on U.S. Capitol grounds in violation of Title 40,
United States Code, Section 5104(e)(2)(D); and Parade, Demonstrate, or Picket in any
of the Capitol Buildings, in violation of Title 40, United States Code, Section

5104(e)(2)(G).
Case: 1:21-cr-00551 Document #: 1 Filed: 09/02/21 Page 2 of 12 PagelD #:2

A copy of the Complaint is attached. A copy of the arrest warrant also is

attached.

2 Oe
CHRISTINA FREISLEBEN
Task Force Officer

Federal Bureau of Investigation

 

SUBSCRIBED AND SWORN to before me this 2nd day of September, 2021.

MARIA VALDEZ \
United States Magistrate J&Mge
Case: 1:21-cr-00551 Document #: 1 Filed: 09/02/21 Page 3 of 12 PagelD #:3

AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

 

for the
District of Columbia
United States of America 5 Case: 1:21-mj-00584
) Assigned To : Harvey, G. Michael
Marcos Gleffe ) Assign. Date : 8/31/2021
DOB: XXXXXX ) Description: Complaint w/ Arrest Warrant
)
)
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 6, 2021 inthecountyof —  ——s—s—‘“CtsSSCsSin thee

in the District of _ Columbia __, the defendant(s) violated:

Code Section Offense Description
18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds

Without Lawful Authority,
18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds,

40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct on Capitol Grounds,
40 U.S.C. § 5104(e)(2)(G) - Parade, Demonstrate, or Picket in any of the Capitol Buildings. .

This criminal complaint is based on these facts:

See attached statement of facts.

M Continued on the attached sheet.

   

Complainant's signature

__ Christina M. Freisleben, Special Agent

Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1

by telephone. A sia

Date: 09/01/2021 ———

Digitally signed by G. Michael
Harvey

Date: 2021.09.01 10:52:30
-04'00'

Judge's signature

 

 

 

City and state: Washington, D.C. G. Michael Harvey, U.S. Magistrate Judge _

Printed name and title
Case: 1:21-cr-00551 Document #: 1 Filed: 09/02/21 Page 4 of 12 PagelD #:4

Case: 1:21—mj-00584 .

Assigned To : Harvey, G. Michael
Assign. Date : 8/31/2021

Description: Complaint w/ Arrest Warrant

STATEMENT OF FACTS

Your affiant, Christina Freisleben, is a Task Force Officer with the Federal Bureau of
Investigation (FBI) and is presently tasked with investigating criminal activity in and around the
Capitol grounds. As a Task Force Officer, I am authorized by law or by a Government agency to
engage in or supervise the prevention, detention, investigation, or prosecution of a violation of
Federal criminal laws. The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police.
Restrictions around the U.S. Capitol include permanent and temporary security barriers and posts
manned by U.S. Capitol Police. Only authorized people with appropriate identification are allowed
access inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was
closed to members of the public.

On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capito! building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

At such time, the certification proceedings still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts,

Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.
Case: 1:21-cr-00551 Document #: 1 Filed: 09/02/21 Page 5 of 12 PagelD #:5

Facts Specific to Marcos Gleffe

After the events of January 6, 2021, on or about February 26, 2021, the FBI received a tip
that Marcos GLEFFE breached the U.S. Capitol Building on January 6, 2021. The tipster,
(“Individual-1”) provided a tip to the FBI that he/she observed a livestream/post posted by
GLEFFE on his Facebook account. The handle name for the account was “Mark Gleffe.”
Individual-1 met GLEFFE has known GLEFFE for approximately ten years and is friends with
GLEFFE on Facebook,

Individual-1 observed a post published on GLEFFE’s Facebook account dated January 5,
2021, advising that GLEFFE was going to livestream the “DC event” on his Parler account,
@fightthefraud. A screenshot capture of this post appears below. See Image 1.

Image 1

Mark Gleffe cas
January 5: @

If anyone would like to watch the live stream of the DC event
tomorrow. Go to Parler and search @fightthefraud
Share awayll

@ 6 18 Comments 3 Shares

a> Like

(2 Comment f& Share

Gy Angel Een
Are you gonna have it on here too?
Like «Reply + 15w

QD Mark Gleffe
No. They don't allow it on here

«27
Like «Reply « 15w om 2

a Robert Fender
Block away

 
Case: 1:21-cr-00551 Document #: 1 Filed: 09/02/21 Page 6 of 12 PagelD #:6

The following day, on January 6, 2021, Individual-! observed an additional post on
GLEFFE’s Facebook page. In the Facebook post, GLEFFE was observed wearing a gray or dark-
colored beanie/skull cap with a dark colored jacket/sweater. GLEFFE carried three flags with
distinctive bright, orange-colored handles in his hand. GLEFFE stood outside of the U.S. Capitol
Building while drinking an unknown beverage. Individual-1 believes that the post depicted
GLEFFE at the Trump rally. See Image 2.

Image 2

~c «© @0GnrA

+o a

Mark Gette
Dew

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On or about April 20, 2021, agents with the FBI interviewed Individual-1. During the
interview with Individual-1, Individual-1 explained that he/she observed Facebook posts that
GLEFFE posted from January 6, 2021, including pictures and live videos, documenting his
attendance at the rally in Washington D.C. Individual-1 stated that while GLEFFE did not post
any pictures of himself inside the Capitol, GLEFFE had since deleted several images from
Facebook after January 6, 2021.

Based upon the information received from Individual-1, the FBI attempted to determine if
GLEFFE entered the Capitol building following his attendance at the rally. Records obtained from
Facebook show that the usernames associated with GLEFFE’s Facebook account are marcos.gleffe
and marcos.gleffe.9. Additionally, FBI agents identified telephone number xxx-xxx-6242 through
an open-source search as being the telephone number associated with GLEFFE.

Your affiant reviewed the post and observed GLEFFE standing outside of the Capitol
Building after the conclusion of the rally. Based upon the information received from Individual-
1, the FBI attempted to determine if GLEFFE entered the Capito} building following his attendance
at the rally. Records obtained from Facebook show that the usernames associated with GLEFFE’s
Facebook account are marcos.gleffe and marcos.gleffe.9. FBI agents identified telephone number
XXX-Xxx-6242 through an open-source search as being the telephone number associated with
GLEFFE.
Case: 1:21-cr-00551 Document #: 1 Filed: 09/02/21 Page 7 of 12 PagelD #:7

To determine whether GLEFFE entered the U.S. Capitol Building, agents searched
telephone number xxx-xxx-6242 against a cellular telephone tower dump. As a result, the cellular
telephone assigned telephone number xxx-xxx-6242 associated to GLEFFE was determined to
have been inside of the U.S. Capitol building on January 6, 2021 for approximately fourteen
minutes.

Your affiant conducted an initial review of some of the surveillance footage captured on
January 6, 2021 from cameras inside the Capitol building. During my review, I identified images
of an individual matching the description of GLEFFE standing in the doorway of the first floor of
the building, entering the north west side of the inside of the U.S. Capitol Building at
approximately 2:19 p.m. The individual, attired in a gray or dark-colored beanie/skull cap and
entered the building, in possession of a cellular telephone. The individual appeared to be taking
either pictures or video footage of the inside of the building. Additionally, the individual appeared
to be in possession of a flag. See Image 3.

 

Lines

In another image captured via Capitol surveillance footage, the individual appears to have
fully entered the Capitol. In this image, I observed a full body view of the individual, who was
attired in the gray or dark-colored beanie/skull cap, dark jacket, and dark pants. Additionally, I
observed that the individual was carrying a flag stating “TRUMP 2020 MAKE AMERICA
GREAT AGAIN.” The handle(s) of the flag(s) was bright orange, similar to the flags held by
GLEFFE in his Facebook post. See Image 4.
Case: 1:21-cr-00551 Document #: 1 Filed: 09/02/21 Page 8 of 12 PagelD #:8

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In another image, the individual appears to be verbally engaging with members of the U.S.
Capitol police while the officers are standing in the hallway. See Image 5.
Case: 1:21-cr-00551 Document #: 1 Filed: 09/02/21 Page 9 of 12 PagelD #:9

| Oe ca eas

 

Agents elected to contact GLEFFE to attempt to interview him about the possible breach
of the U.S. Capitol Building. GLEFFE was contacted at telephone number xxx-xxx-6242, the
same telephone number assigned to GLEFFE’s Google account. On May 3, 2021, GLEFFE was
interviewed by an assisting FBI agent. During the interview, GLEFFE admitted to entering the
U.S. Capitol building on January 6, 2021. According to GLEFFE, he rented a car and traveled
from Illinois to Virginia to attend the Trump rally. GLEFFE confirmed that he was attired in blue
jeans, a sweatshirt, and a beanie hat to attend the rally. While at the rally, GLEFFE heard a group
of individuals state, “We’re storming the Capitol.” GLEFFE decided to follow the group to the
Capitol building. GLEFFE also confirmed that he did indeed carry three flags with him to the
Capitol building, one American flag and two “Trump flags.” According to GLEFFE, after he
attended the rally, he decided to follow the crowd to the Capitol building. Upon arriving, GLEFFE
claimed to have been indirectly teargassed as he attempted to make his way past the barriers, which
he claims were already knocked down. GLEFFE then attempted to enter the building though a
“back entrance.”

While attempting to enter, GLEFFE observed police officers standing near his intended
point of entry. GLEFFE claims that he was allowed to enter the building despite the police
presence because the office did not prevent him from entering. GLEFFE admitted that while he
entered the building, he did not enter any rooms inside of the Capito] building. GLEFFE admitted
into walking down many hallways. GLEFFE told agents that he was inside of the building
approximately ten minutes. At the conclusion of the interview, GLEFF stated that he made “the
biggest mistake going through the door” and “would not do it again if 1 could go back.”
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The agent who interviewed GLEFFE reviewed the Capitol building surveillance footage,
stills of which are marked herein as mages 3, 4, and 5. The interviewing agent identified the
person she interviewed, GLEFFE, as the individual depicted entering the building and inside of
the building, attired in a gray skull/beanie cap, dark clothing, and in possession of flags with bright-
colored handles, as being GLEFFE.

Based on the foregoing, your affiant submits that there is probable cause to believe that
Marcos GLEFFE violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do so; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions.

For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

Your affiant submits there is also probable cause to believe that Marcos GLEFFE violated
40 U.S.C. §§ 5104(e), which make it a crime to willfully and knowingly (D) utter loud, threatening,
or abusive language, or engage in disorderly or disruptive conduct, at any place in the Grounds or
in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly conduct of
a session of Congress or either House of Congress, or the orderly conduct in that building of a
hearing before, or any deliberations of, a committee of Congress or either House of Congress; and
(G) parade, demonstrate, or picket in any of the Capito! Buildings.

  

 

Christina Freisleben
Task Force Officer
Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this Ist day of September 2021. sit Digitally signed by G.
fay ss Michael Harvey
E Lie Date: 2021.09.01
—_ 10:53:52 -04'00'
G. MICHAEL HARVEY
U.S. MAGISTRATE JUDGE

 

 
Case: 1:21-cr-00551 Document #: 1 Filed: 09/02/21 Page 11 of 12 PagelD #:11

AO 442 (Rev. 11/11) Arrest Warrant

 

UNITED STATES DISTRICT COURT

 

for the
District of Columbia
United States of America
v. ) Case: 1:21-mj-00584
Marcos Gleffe ) Assigned To : Harvey, G. Michael

Assign. Date : 8/31/2021

) Description: Complaint w/ Arrest Warrant
)

Defendant

ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Marcos Gleffe ;
who is accused of an offense or violation based on the following document filed with the court:

O} Indictment  Superseding Indictment O Information © Superseding Information J Complaint
Probation Violation Petition OC) Supervised Release Violation Petition | Violation Notice ( Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without
Lawful Authority;

18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds;

40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct on Capitol Grounds;

40 U.S.C. § 5104(e)(2)(G) - Parade, Demonstrate, or Picket in any of the Capitol Buildings. .

dh 144 Digitally signed by G. Michael Harvey
O Ee Date: 2021.09.01 10:49:48 -04'00"

Issuing officer's signature

Date: 09/01/2021

 

City and state: Washington, D.C. G. Michael Harvey, U.S. Magistrate Judge

Printed name and title

 

Return

 

., and the person was arrested on (date) __

This warrant was received on (date)
at (city and state)

 

Date:

 

Arresting officer's signature

 

Printed name and title

 

 

 
Case: 1:21-cr-00551 Document #: 1 Filed: 09/02/21 Page 12 of 12 PagelD #:12

AO 442 (Rev. LI/11) Arrest Warrant (Page 2)

This second page contains personal identifiers provided for law-enforcement use only
and therefore should not be filed in court with the executed warrant unless under seal.

(Not for Public Disclosure)

Name of defendant/offender: Marcos Gleffe

Known aliases:

 

Last known residence: RE © 1k Grove Village, Illinois 60007

 

Prior addresses to which defendant/offender may still have ties:

 

 

Last known employment:

 

Last known telephone numbers:

 

Place of birth:

 

Date of birth: M1983

Social Security number: |

 

 

 

 

Height: Weight: N/A
Sex: Male Race: Wh ite
Hair; N/A Eyes: N/A

 

 

 

Scars, tattoos, other distinguishing marks:

 

History of violence, weapons, drug use:

 

 

 

Known family, friends, and other associates (name, relation, address, phone number):

 

FBI number:

 

Complete description of auto:

 

 

Investigative agency: FBI

 

Investigative agency address: Chicago Field Office
Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):

 

 

 

Date of last contact with pretrial services or probation officer (if applicable):

 

 
